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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No.   20-cr-00174-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

RYAN KAMADA,

       Defendant.


                                      INFORMATION


The United States Attorney charges:

                                       COUNT 1

       On or about and between April 24, 2019 and July 15, 2019, both dates being

approximate and inclusive, in the State and District of Colorado, the defendant RYAN

KAMADA did corruptly influence, obstruct, and impede and did corruptly endeavor to

influence, obstruct and impede the due and proper administration of the law under

which any pending proceeding was being had before any department or agency

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of the United States, specifically an ongoing criminal investigation of the United States

Drug Enforcement Administration and the United States Department of Justice.

       All in violation of Title 18 United States Code, Section 1505.


       JASON R. DUNN                                   COREY AMUNDSON
       United States Attorney                          Chief

By:     s/Bryan David Fields                     By:   s/John P. Taddei
         Bryan David Fields                            John P. Taddei
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